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United States Court of Appeals

FIFTH CIRCUIT
. OFFICE OF THE CLERK

LYLE W. CAYCE . TEL. 504-310-7700
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January 08, 2021

United States Courts
Southern District of Texas
Mr. Nathan Ochsner FILED
Southern District of Texas, Houston January 08, 2021
United States District Court
515 Rusk Street Nathan Ochsner, Clerk of Court
Room 5300

Houston, TX 77002

No. 20-20587 Russell v. Jones
USDC No. 4:19-CV-226

Dear Mr. Ochsner,

The 30-day transcript discount period expired on December 28, 2020,
and to date, the court reporters have not filed the transcripts.
Therefore, the court reporters must discount the CJA 24 voucher by
10%. Additionally, in accordance with Fifth Circuit practice, if
the transcripts are not filed by January 27, 2021, we will
implement a 20% discount, without further notice.

 

Sincerely,
LYLE W. CAYCE, Clerk

By: /s/Lyle W. Cayce
Lyle W. Cayce

cc: Ms. Courtney Brooke Corbelio
Mr. Alec George Karakatsanis
Mr. Judd Edward Stone II
Mr. Johnny Sanchez, Court Reporter
Mr. Bruce Slavin, Court Reporter
Mr. Fred E. Warner, Court Reporter
